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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                              )
UNITED STATES OF AMERICA                      )       CRIMINAL NO. 3:13CR226(RNC)
                                              )
v.                                            )
                                              )
DANIELE. CARPENTER                            )       December 14, 2018


      DEFENDANT'S MEMORANDUM OF LAW TO CORRECT HIS SENTENCE
                 PURSUANT TO FED.R.CRIM.P. RULE 35(a)

                               PRELIMINARY STATEMENT

       Federal Rule of Criminal Procedure 35(a) provides that a District Court Judge must

con-ect a sentence for "clear en-or" on its own motion or by motion of the defendant if filed

within 14 days from the pronouncement of the sentence.           Mr. Carpenter's sentence was

pronounced on December 3, 2018. Mr. Carpenter respectfully requests that the Court vacate his

sentence pursuant to Federal Rule of Criminal Procedure 35(a), because the sentence imposed by

the Court ignored the recent Sentencing Guidelines Amendment 792 and 794 and was (1)

"substantively unreasonable" under the Sixth Amendment, (2) predicated upon a number of

factual inaccuracies and knowingly false information provided by the Governrnent in violation of

the Fifth Amendment's Due Process Clause, and (3) constituted clear en-or in its miscalculation

and misconstruing of both the Sentencing Guidelines and the calculation of the proper Offense

Level before applying the §3553(a) factors.

       Mr. Carpenter's sentence was both procedurally and substantively unreasonable as a

matter of law, as there were several en-ors each of which constitute "plain en-or" under the

Supreme Court's recent decisions in Rosales-Mireles v. United States, 138 S.Ct. 1897 (2018) and

Molina-Martinez v. United States, 136 S.Ct. 1338 (2016), and when combined, these en-ors



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would require a corrected and reduced sentence based on the Second Circuit's clear mandate in

regard to motions pursuant to Rule 35(a).

       For the reasons which follow, the granting of this Rule 35(a) Motion is in order. A new

sentencing hearing is in the best interests of justice and fundamental fairness. We have the rare

opportunity of a legal crystal ball as provided by the Second Circuit's decisions in United States

v. Countrywide, 822 F.3d 650 (2d Cir. 2016), United States v. Finazzo, 850 F.3d 94 (2d Cir.

2017), and United States v. Litvak, 889 F.3d 56 (2d Cir. 2018), as well as the important decisions

on the Mail and Wire Fraud Statutes in United States v. Takhalov, 827 F.3d 1307 (11th Cir.

2016) and United States v. Weimert, 819 F.3d 351 (7th Cir. 2016) to review and reduce Mr.

Carpenter's sentence, now consistent with these cases. Therefore, this motion is both timely and

meritorious and it is respectfully submitted that it should be granted by the Court.




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   I. THE SUPREME COURT'S RECENT DECISION IN ROSALES-MIRELES
      REQUIRES A CORRECTION OF MR. CARPENTER'S SENTENCE

       In its recent decision vacating the sentence imposed based on a single miscalculation of

the Sentencing Guidelines, the Supreme Court stated the following:

       District courts must determine in each case what constitutes a sentence that is "sufficient,
       but not greater than necessary," 18 U.S.C. § 3553(a), to achieve the overarching
       sentencing purposes of "retribution, deterrence, incapacitation, and rehabilitation." Tapia
       v. United States, 564 U.S. 319, 325 (2011); 18 U.S.C. §§355l(a), 3553(a)(2). Those
       decisions call for the district court to exercise discretion. Yet, to ensure "'certainty and
       fairness'" in sentencing, district courts must operate within the framework established by
       Congress. United States v. Booker, 543 U.S. 220, 264 (2005) (quoting 28 U.S.C.
       §991 (b)(1)(B)). The Sentencing Guidelines serve an important role in. that framework.
       '" [D]istrict courts must begin their analysis with the Guidelines and remain cognizant of
       them throughout the sentencing process."' Peugh v. United States, 569 U.S. 530, 541
       (2013) (quoting Gall v. United States, 552 U.S. 38, 50, n.6 (2007)). Courts are not bound
       by the Guidelines, but even in an advisory capacity the Guidelines serve as "a meaningful
       benchmark" in the initial determination of a sentence and "through the process of
       appellate review." Rosales-Mireles at 1903-04, citing Peugh at 541.

       Of course, to consult the applicable Guidelines range, a district court must first determine

what that range is. This can be a "complex" undertaking as discussed in another Supreme Court

decision vacating a sentence calculation off by only one month, Molina-Martinez v. United

States, 136 S.Ct. 1338, 1342 (2016). The United States Probation Office, operating as an arm of

the district court, first creates a presentence investigation report, "which includes a calculation of

the advisory Guidelines range it considers to be applicable." Id.; see F.R.Crim.P. 32(c)(l)(A),

(d)(l); United States Sentencing Commission, Guidelines Manual §lBl.l(a) (Nov. 2016)

(U.S.S.G.). That calculation derives from an assessment of the "offense characteristics, offender

characteristics, and other matters that might be relevant to the sentence." Rita v. United States,

551 U.S. 338, 342 (2007). Specifically, an offense level is calculated by identifying a base level

for the offense of conviction and adjusting that level to account for circumstances specific to the

defendant's case, such as how the crime was committed and whether the defendant accepted


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responsibility. See U.S.S.G. §§lBl.l(a)(l)-(5). A numerical value is then attributed to any prior

offenses committed by the defendant, which are added together to generate a criminal history

score that places the defendant within a particular criminal history category. §§1Bl.l(a)(6),

4Al.1. Together, the offense level and the criminal history category identify the applicable

Guidelines range. §1Bl.l(a)(7). As the Court knows, Mr. Carpenter's criminal history category

could drop any day from II to I based on his many motions pending in Boston, any one of which

could result in having his Boston conviction vacated.           Moreover, in this case, both the

Government and the Court failed to examine Mr. Carpenter's sentence in light of the Sentencing

Guidelines Amendments 792 and 794. 1 This is clear error. See, e.g., the Second Circuit's recent

decision in Alston, where the Court chided and admonished the Government that it must take into

account Sentencing Guidelines Amendment 794 in all future cases:

          "We have previously vacated a sentence imposed in the United States District Court for
          the Southern District of New York on precisely this basis .... See United States v.
          Soborsld, 708 F. App'x 6, 10-14 (2d Cir. 2017). We expect that, having clarified the
          impact of Amendment 794 in this opinion (Alston), the government will take note in
          future sentencing proceedings of the updated standard for "minor role" reductions."
          United States v. Alston, 899 F.3d 135, 150 (2d Cir. 2018).

           Obviously, the Government did not heed the Second Circuit's straightforward warning in

Alston, but the district court has the ultimate responsibility to ensure that the Guidelines range it

considers is correct, and the "[ f]ailure to calculate the correct Guidelines range constitutes

procedural error." Peugh at 537. Given the complexity of the calculation, however, district courts

sometimes make mistakes. It is not surprising, then, that "there will be instances when a dish'ict

court's sentencing of a defendant within the framework of an incorrect Guidelines range goes

unnoticed" by the parties as well, which may result in a defendant raising the error for the first

time on appeal as happened in Molina-Martinez at 1343.


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    See SGA 792 at §2Bl.l, and SGA 794 at Note 3(C).

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       In Molina-Martinez, the Court recognized that "[w ]hen a defendant is sentenced under an

incoITect Guidelines range�whether or not the defendant's ultimate sentence falls within the

coITect range--the error itself can, and most often will, be sufficient to show a reasonable

probability of a different outcome absent the error." Id. at 1345 (emphasis added). In other

words, an eITor resulting in a higher range than the Guidelines provide usually establishes a

reasonable probability that a defendant will serve a prison sentence that is more than "necessary"

to fulfill the purposes of incarceration. 18 U.S.C. §3553(a); Tapia at 325. "To a prisoner, this

prospect of additional time behind bars is not some theoretical or mathematical concept." Barber

v. Thomas, 560 U.S. 474,504, (2010) (KENNEDY, J., dissenting). "[A]ny amount of actual jail

time is significant for Sixth Amendment purposes," Glover v. United States, 531 U.S. 198, 203

(2001), and "ha[s] exceptionally severe consequences for the incarcerated individual [and] for

society which bears the direct and indirect costs of incarceration," United States v. Jenkins, 854

F.3d 181, 192 (2d Cir. 2017). The possibility of additional jail time thus waITants serious

consideration in a detennination by the Court whether to exercise its discretion under Rule 35(a).

It is crucial to maintaining public perception of fairness and integrity in the justice system that

courts exhibit regard for fundamental rights and respect for prisoners as "people." Molina­

Martinez at 1346.

       The risk of unnecessary deprivation of liberty particularly undermines the fairness,

integrity, or public reputation of judicial proceedings in the context of a plain Guidelines eirnr

because of the role the district court plays in calculating the range and the relative ease of

coITecting the eITor. Unlike "case[s] where trial strategies, in retrospect, might be criticized for

leading to a harsher sentence," Guidelines miscalculations, even if a defendant is sentenced on a

non-guideline basis, ultimately result from the Court relying upon erroneous governmental


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infonnation. Glover at 204; see also Peugh at 537. That was especially so in this case where the

Court's error in imposing Mr. Carpenter's sentence was based largely on the Government's

erroneous use of the non-existent loss amounts in this case found in the presentence investigation

report (PSR) by the Probation Office, and based on inaccurate facts provided by the Govermnent

to the Probation Officer Mr. Ferraras. This in and of itself is a violation of the Due Process

Clause. See United States v. Delacruz, 862 F.3d 163, 175 (2d Cir. 2017) citing Townsend v.

Burke, 334 U.S. 736, 741 (1948) where the Supreme Court stated: " ... what the Due Process

Clause does require is that a defendant not be sentenced on the basis of "materially untrue"

assumptions or "misinfonnation," and that he have an opportunity to respond to material

allegations that he disputes, in order that the court not sentence him in reliance on

misinfonnation."    Delacruz at 175, citing Townsend at 741.          Moreover, "a remand for

resentencing, while not costless, does not invoke the same difficulties as a remand for retrial

does." Molina-Martinez at 1348-49. "A resentencing is a brief event, normally taking less than a

day and requiring the attendance of only the defendant, counsel, and court personnel." United

States v. Williams, 399 F.3d 450, 456 (2d Cir. 2005). The efficacy of reducing Mr. Carpenter's

sentence to Time Served now would save scarce judicial resources in the future, because the

Goverrunent's Calculated Offense Level of 39 is legally untenable and Mr. Carpenter's

arguments contained in this Motion for an Offense Level of Tlu·ee or Four is supported by both

the Sentencing Guidelines Amendments themselves as well as recent precedent of the Supreme

Court and Second Circuit.

       Ensuring the accuracy of Guidelines determinations also serves the purpose of "providing

certainty and fairness in sentencing" on a greater scale. 28 U.S.C. §994(f); see also

§991(b)(l )(B); Booker at 264. The Guidelines assist federal courts across the country in



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achieving uniformity and proportionality in sentencing. See Rita at 349. To realize those goals, it

is important that sentencing proceedings actually reflect the nature of the offense and criminal

history of the defendant, because the United States Sentencing Commission relies on data

developed during sentencing proceedings, including infonnation in the presentence investigation

report, to determine whether revisions to the Guidelines are necessary. Id. at 350. When

sentences based on incorrect Guidelines ranges go unco1Tected, the Cmmnission's ability to make

appropriate amendments is undennined.

       As the Court realizes, the Lebovits sentencing memorandum of April 2015, before the

Guidelines Amendments were made effective in November 2015, was drafted by Former

Attorney General Loretta Lynch, and she asked for Probation only, and the sentences in Keller­

Steinfeld were only 90 and 60 days respectively. From a "disparity" standpoint, Mr. Carpenter's

sentence in this case is sure to be reversed not just because it was substantially more than

defendants that admitted to being active in the STOLI business, deceiving the carriers, and

dealing in amounts of policies far larger than the Charter Oak Trust, but because the sentence

itself was calculated based on clearly erroneous information provided by the Goverrunent.

Therefore, because Mr. Carpenter's sentence is both procedurally and substantively

unreasonable, and was calculated incorrectly based on clear errors by the Court, it is certain to be

vacated and remanded based on the Supreme Court's decisions in Rosales-Mireles and Molina­

Martinez. Mr. Carpenter respectfully asks that these obvious errors be corrected now to spare

the need for substantial motion practice in the future.

       In broad strokes, the public legitimacy of our justice system relies on procedures that are

"neutral, accurate, consistent, trustworthy, and fair," and that "provide opportunities for error

correction." In considering claims like Mr. Carpenter's in this case, "what reasonable citizen


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wouldn't bear a rightly diminished view of the judicial process and its integrity if comis refused

to correct obvious errors of their own devise that threaten to require individuals to linger longer

in federal prison than the law demands?" United States v. Sabillon-Umana, 772 F.3d 1328,

1333-34 (10th Cir. 2014) (Gorsuch, J.). As the Supreme Court has repeatedly explained: "the

Guidelines are the starting point for every sentencing calculation in the federal system," Hughes

v. United States, 138 S.Ct. 1765, 1775 (2018)(quoting Peugh at 542).            The error in Mr.

Carpenter's case is clearly manifest for the reasons stated below and should be corrected now.

   II. THE SUPREME COURT'S DECISION IN MOLINA-MARTINEZ REQUIRES AN
       IMMEDIATE CORRECTION OF MR. CARPENTER'S SENTENCE

      In Molina-Martinez v. United States, 136 S.Ct. 1338 (2016), the Supreme Court vacated a

guilty plea sentence of 77 months where the defendant alleged that a lower sentencing range of

70-87 months was the correct sentencing range. Whereas the Fifth Circuit required Molina­

Martinez to show more than just the calculation error, the Supreme Comi made it clear that:

      " ... the court's reliance on an incorrect range in most instances will suffice to show an
      effect on the defendant's substantial rights. Indeed, in the ordinary case a defendant will
      satisfy his burden to show prejudice by pointing to the application of an incorrect, higher
      Guidelines range and the sentence he received thereunder. Absent unusual
      circumstances, he will not be required to show more." Molina-Martinez at 1347
      (emphasis added).

      In Molina-Martinez, the district court incorrectly believed that 77 months was the lowest

possible sentence. The defendant believed the court to be in error and suggested that the correct

lowest sentence should be 70 months. While the Fifth Circuit agreed with the defendant that 70-

87 months was the correct range, it required the defendant to show more than just the

miscalculation error by the Court and how he was prejudiced, when 77 months was clearly

between the range of 70-87 months. Because the court in Molina-Martinez had made the




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statement that, based on the Guidelines, the lowest sentence the court could give was 77 months,

which was enough for the Supreme Court to reverse and remand the case for a lower sentence.

       In Mr. Carpenter's case, the contrast is much more stark. From a Base Offense Level of

7, the Court added 22 Levels for a fraud loss of between $25-65 million, plus 2 levels for

utilizing Sophisticated Means, plus another 2 Levels for deriving more than $1 million from a

financial institution, plus 4 Levels for an aggravating role adjustment, plus another 2 Levels for

an obstruction ofjustice enhancement. Obviously, the Court is well aware from the voluminous

filings in this case that Mr. Carpenter respectfully disputes the amount ofloss in this case, and all

of the Government's enhancements. But, for the purposes of this Motion, Mr. Carpenter wishes

to respectfully suggest to the Court that, based on SGA 792 and 794, this is clear error that the

Court should correct now.

       Based on a Guidelines calculation of Seven, the Court should have granted Mr. Carpenter

a four-level reduction pursuant to Guidelines Amendment 794 because if there really was a

conspiracy of 100 people as the Government maintains, then he should be granted a "minimal"

role reduction based on the fact that he did not fill out, sign, or send in any of the allegedly

fraudulent insurance applications. If there was any fraud conduct in this case, it was committed

not by Mr. Carpenter, but by the agents of the carriers themselves that according to the

Government certainly knew who Mr. Carpenter was, and certainly knew about Mr. Carpenter's

company Grist Mill Capital being the funder of the policies in the Chaiier Oak Trust. It is a long

held maxim of Insurance Law that the "knowledge of the agent is the knowledge of the carrier."

See Stipcich v. Metropolitan Life, 277 U.S. 311, 320-21 (1928).

       It is submitted that the Government's proof was insufficient, thus there was no deceit,

conspiracy, fraud, and certainly no mail and wire fraud conspiracy proven that Mr. Carpenter



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was a party to. See, e.g., United States v. Manatau, 647 F.3d 1048 (10th Cir. 2011), where

Justice Gorsuch stated: "Proof of criminal intent is required to prevent a 'drag-net of conspiracy'

from sweeping up i1mocent conduct." Id. at I 053, citing United States v. Falcone, I 09 F.2d 579,

581 (2d Cir. 1940). "Without the knowledge, the intent cannot exist ....Furthermore, to establish

the intent, the evidence of knowledge must be clear, not equivocal. .. because charges ... are not to

be made out by piling inference on inference, thus fashioning ...a dragnet to draw in all

substantive crimes." Falcone at 581. Therefore, Mr. Carpenter was entitled to a Four-level

reduction for a minimal role in a nonexistent conspiracy based on Amendment 794, even if the

Court determined that Mr. Carpenter's conduct was "essential" to the conspiracy. See, infra, the

Commentary by the Second Circuit on Amendment 794 in United States v. Soborski, 708

Fed.Appx 6 (2d Cir. 2017).

       At the outset of the sentencing proceedings, the district court must determine the con-ect

applicable Guidelines range. Peugh at 540-41. The Comt "must consult those Guidelines and

take them into account throughout the sentencing process." Booker at 264. The Supreme Court

has made clear that the Guidelines are to be tl1e sentencing court's "starting point and ... initial

benchmark." Gall v. United States, 552 U.S. 38, 49 (2007). Federal courts understand that they

'"must begin their analysis with the Guidelines and remain cognizant of them throughout the

sentencing process."' Peugh at 541. The Guidelines are "the framework for sentencing" and

"anchor ... the district comt's discretion." Id. at 531,541. The sentencing process is particular to

each defendant, of course, and a reviewing court must consider the facts and circumstances of

the case before it. See United States v. Davila, 133 S.Ct. 2139, 2149 ("Our essential point is that

particular facts and circumstances matter"). Also, the Court was required to look at Mr.

Carpenter as he stands now in December of 2018, not the made up picture tl1e Government


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portrays from 10 and 20 years ago. "[A] court's duty is always to sentence the defendant as he

stands before the court on the day of sentencing." Pepper v. United States, 562 U.S. 476, 492

(2011), citing United States v. Bryson, 229 F.3d 425,426 (2d Cir. 2000).

   III. IT WAS CLEAR ERROR NOT TO EXAMINE, MUCH LESS GRANT MR.
        CARPENTER A FOUR-LEVEL REDUCTION BASED ON U.S.S.G.
        AMENDMENT 794

       Mr. Carpenter respectfully submits that he is entitled to a Four Level Mitigating Role

Reduction due to the recently-adopted Sentencing Guidelines Amendment 794. Even assuming

arguendo that there was a "conspiracy" surrounding the Charter Oak Trust, which Mr. Carpenter

adamantly denies he was a party to or even that such a conspiracy existed, the Court is still

obligated to detennine what role, if any, that Mr. Carpenter played in the alleged conspiracy, and

if that role was a "minimal" one (even if the Court finds Mr. Carpenter's conduct to be

"essential" to the conspiracy), he is entitled to a Four-Level Reduction under the Sentencing

Guidelines. For example, as the Second Circuit recently described Amendment 794 in United

States v. Soborski, 708 Fed.Appx 6 (2d Cir. 2017) that:

       "Under §3Bl.2 of the Guidelines, a defendant's offense level is reduced by two levels if
       he was a minor participant in any criminal activity, four levels if a minimal participant,
       and three levels if falling somewhere between those two categories. U.S.S.G. §3Bl.2."
       Soborski at 10.

       The Second Circuit went on in Soborski to describe Amendment 794's impact on

sentencing for "participants" in a "criminal activity" or in a many-participant conspiracy as is

alleged here:

       Amendment 794, which became effective in November 2015, less than a year before
       Soborski's sentencing, modified significantly-especially within this Circuit-the factors
       that a district court should consider in deciding whether to apply the reduction. It added
       to the Guidelines commentary the following non-exhaustive list of factors that the district
       court "should consider" among the "totality of the circumstances":




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       (i)     the degree to which the defendant understood the scope and structure of the
               criminal activity;

       (ii)    the degree to which the defendant participated in planning or organizing the
               criminal activity;

       (iii)   the degree to which the defendant exercised decision-making authority or
               influenced the exercise ofdecision-making authority;

       (iv)    the nature and extent of the defendant's participation in the commission of the
               criminal activity, including the acts the defendant performed and the
               responsibility and discretion the defendant had in perfonning those acts;

       (v)     the degree to which the defendant stood to benefit from the criminal activity.
               U.S.S.G. app. C, amend. 794 (amending U.S.S.G. §3Bl.2 cmt. n.3(C)). Soborski
               at *10.

       Amendment 794 also clarified that a reduction for a mmor role is not necessarily

precluded by a defendant's perfonnance of "an essential or indispensable role in the criminal

activity," and that a defendant with an essential or indispensable role may still receive a role

reduction ifhe or she was "substantially less culpable than the average participant in the criminal

activity." Significantly, in the commentary for Amendment 794, the Sentencing Commission

meaningfolly changed the phrase "substantially less culpable than the average participant" to

"substantially less culpable than the average participant in the criminal activity." See U.S.S.G.

§3Bl.2 cmt. n. 3(C).

       The Second Circuit described in Soborski why this addition would be crucial to this

Court's determination ofthe appropriate sentence in Mr. Carpenter's case:

       Explaining its reason for adding the words "in the criminal activity," the Commission
       described a circuit split over the meaning of"the average participant": some circuit courts
       interpreted it to mean the average among those "participat[ing] in the criminal activity at
       issue in the defendant's case," id., while other circuits�including ours�looked to the
       average participant among "the universe of persons pmiicipating in similar
       crimes," id. (citing United States v. Rahman, 189 F.3d 88 (2d Cir. 1999)). The
       Commission stated that it added the words "in tlie criminal activity" because it favored
       the former interpretation, under which "the defendant's relative culpability is determined
       only by reference to his or her co-participants in the case at hand." We give the

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       Commission's "interpretation of its own Guideline controlling weight unless it is plainly
       erroneous or inconsistent with the regulation or violates the Constitution or a federal
       statute." United States v. Lacey, 699 F.3d 710, 716 (2d Cir. 2012). The Commission's
       clear directive is for courts to determine a defendant's relative culpability only by
       reference to co-participants in the case at hand, and we perceive no reason not to
       give its interpretation controlling weight. Soborsld at * 10-13 ( emphasis added).
       In support of his request that he had, at best, a "minimal" role in the alleged Charter Oak

Trust conspiracy, Mr. Carpenter submits the following facts showing that he is entitled to a

mitigating role adjustment pursuant to Amendment 794:

       1. The Government's letter dated February 25, 2016, showing 37 specifically-named
          alleged "co-conspirators" and over 200 alleged co-conspirators including all of the
          employees of Benistar, Ridgewood, Caldwell, Plainfield, and their related companies,
          plus 84 "Straw-Insureds" and their brokers that were licensed agents of the Carriers.
          See attached as Exhibit One, the Goverrunent's list of alleged co-conspirators
          presented after Mr. Carpenter's hial began;

       2. There were 87 policies that were applied for and issued to the Charter Oak Trust, but
          Mr. Carpenter did not fill out, sign, or submit any of those applications, so he in fact
          did not "lie" on any of the applications, nor did he cause any mailings or wires in
          furtherance of the alleged fraud;

       3. There was no evidence adduced at trial that showed any commissions payable to Mr.
          Carpenter;

       4. There was no evidence adduced at trial, nor did the Govermnent ever explain how
          Mr. Carpenter could possibly get possession of the policies from Christiana Ban1c, the
          Insurance Trustee, who is not listed anywhere as a co-conspirator, and was working
          for Ridgewood, not Mr. Carpenter;

       5. Other than the Government's specious speculation and baseless accusations, there
          was absolutely no proof adduced at trial that showed Mr. Carpenter taking control of
          any Charter Oalc Trust policy or actually selling a Chaiier Oalc Trust policy;

       6. The Government's own submission to the Second Circuit in Quatrella, including a
          Wall Street Journal article from November 2008 shows that the Life Settlement and
          STOLI business was robust and legal in 2007, and had dried up but was still legal in
          the Spring of 2008;

       7. The alleged lies told by the agents of the can-iers and not by Mr. Carpenter were not
          material to the insurance contract bargain as a matter of law. See AEI v. Lincoln, 892
          F.3d 126 (2d Cir. 2018);




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8. Since all of the licensed agents listed by the Government knew the truth of Grist Mill
   Capital's "third-party funding" of the policies, "the knowledge of the agent is the
   knowledge of the carrier" (see Stipcich v. Metropolitan Life, 277 U.S. 311, 320-21
   (1928)), and therefore there are no lies here attributable to Mr. Carpenter as he did not
   fill out or submit any of the applications in this case;

9. Even assuming that all of these agents who did not know Mr. Carpenter submitted the
   allegedly false applications at his behest, Mr. Carpenter is just one of over 100 co­
   conspirators, so his percentage role cannot possibly be more than 1-10%;

10. Amendment 794 allows Mr. Carpenter to apply for a "minimal role" even if his role
    was "essential";

11. Mr. Carpenter submits that, in fact, he and his company Grist Mill Capital were the
    victims here and that he was the one lied to, and he and Grist Mill Capital as the
    policy "funders" were the real victims here just as the investors were the alleged
    victims in Quatrella;

12. Just as in Quatrella, it was the agents that Quatrella conspired with that were in the
    conspiracy and not the investors, and it was the licensed agents of the carriers
    including Waesche and Mactas and Westcott that lied to Mr. Carpenter;

13. The Verdict goes into great detail to show that the "Straw-Insureds", "the agents of
    the cmTiers", and even officers of the carriers such as Fred Prelle and Charles
    Induddi-Westcott were all involved in the conspiracy to lie. See, Verdict pgs. 42-45;

14. There is no evidence anywhere that Mr. Carpenter lied to anyone about anything at
    any time. In fact, in the Verdict, the Court said at FN43 on Page 56: "The defendant
    testified that he never told anyone to lie on the applications. The defendant might not
    have uttered the word "lie" when instructing others. But there is credible evidence
    that others lied when completing applications because he told them to do so.";

15. While Mr. Carpenter respectfully disagrees with the Court's analysis of the alleged
    STOLI questions, even assuming the Court's analysis is correct and Mr. Carpenter
    understood that these agents that he never met were lying on his behalf, that means
    Mr. Carpenter was in a conspiracy with at least 20 other people, meaning his
    percentage of the alleged conspiracy was less than 5%, thereby entitling him to a
    Four-Level Mitigating Role Reduction;

16. Another example of the Court's misunderstanding of the alleged conspiracy is to say
    that the "Straw-Insureds" were promised an upfront inducement of "two years of free
    insurance." The promise of insurance coverage is not the "cash" inducement the
    carriers are looking for in detecting alleged STOLI schemes. See Verdict at 45;




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         17. Even assuming arguendo that Mr. Carpenter allegedly "controlled" Wayne Bursey
             who was the nominal trustee of the Charter Oak Trust, nowhere at trial or elsewhere
             was evidence adduced showing that Mr. Carpenter had control over Christiana Bank,
             which was the all-controlling "Insurance Trustee" in the Charter Oak Trust
             documents. Mr. Carpenter certainly did not have control over Ridgewood, Caldwell,
             Plainfield, Fred Prelle's Agency, or Bruce Mactas and his people, or any of the
             insurance agents and brokers in this case, few of which were even known to Mr.
             Carpenter. For instance, there was no evidence adduced at trial showing any letter,
             email, text message, or even a phone call between Bruce Mactas and Mr. Carpenter,
             and there is not even a suggestion by the Government that they ever met.



   IV.      A REVIEW OF THE COURT'S OWN VERDICT PROVES THAT MR.
            CARPENTER IS ENTITLED TO A FOUR-LEVEL MITIGATING ROLE
            ADJUSTMENT PURSUANT TO AMENDMENT 794

         As previously mentioned, Amendment 794 made it easier for a defendant to qualify for a

minor role reduction and encourages courts to apply the reduction more frequently by giving

greater discretion. In Mr. Carpenter's case, neither the Government nor Probation, nor even the

Court ever mentioned or examined Mr. Carpenter's possibility of a Mitigating Role Reduction

pursuant to Amendment 794. As the Second Circuit recently stated in Alston, this is clear error

certainly on the part of the Govermnent and perhaps even the Court:

         "We have previously vacated a sentence imposed in the United States District Comt for
         the Southern District of New York on precisely this basis .... See United States v.
         Soborski, 708 F. App'x 6, 10-14 (2d Cir. 2017). We expect that, having clarified the
         impact of Amendment 794 in this opinion (Alston), the government will take note in
         future sentencing proceedings of the updated standard for "minor role" reductions."
         United States v. Alston, 899 F.3d 135, 150 (2d Cir. 2018).

         The previous cmmnentary to §3B 1.2 had provided that a minor role adjustment is

available to any defendant "who plays a pait in committing the offense that makes him

substantially less culpable than the average participant" and Amendment 794 inserted after

"substantially less culpable than the average participant" the following phrase: "in the criminal

activity." U.S.S.G. §3Bl.2, comment n.3(A). The Amendment clarified that a defendant could


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be considered for a minor role adjustment in many circumstances, all of which apply to Mr.

Carpenter. See, e.g., Amendment 794: "A defendant who does not have a proprietary interest in

the criminal activity and who is simply being paid to perfonn certain tasks should be considered

for an adjustment under this guideline." U.S.S.G. App. C. Amend. 794. The evidence is clear in

this case. Mr. Carpenter never owned, sold, or profited from any of the policies including the

Spencer policies , and his company Grist Mill Capital lost over $70 million , while the alleged

carrier "victims" made over $100 million and continue to collect premiums and pay claims to

this very day. Fmihermore, since the Govermnent's own Loss Spreadsheet shows that every

single Charter Oak Trust policy was reinsured by the carrier, that means that even on the Spencer

policies, Lincoln made money because it collected a large "pennanent insurance" premium while

it paid a small "tenn insurance" premium to some European Reinsurer, so even the

Government's calculation of the death benefit loss in this case is wrong. And, as the Second

Circuit's decision in AEI v. Lincoln makes clear, even if there was a big death benefit to pay out,

"Lincoln was not cheated of premiums." See AEI v. Lincoln at 130.

       Amendment 794 also introduced a list of non-exhaustive factors that a sentencing court

should, not may, consider, in determining whether to apply a minor role adjustment. The factors

are: "(i) the degree to which the defendant understood the scope and structure of the criminal

activity; (ii) the degree to which the defendant participated in planning or organizing the criminal

activity; (iii) the degree to which the defendant exercised decision-making authority or

influenced the exercise of decision-making authority; (iv) the nature and extent of the

defendant's pmiicipation in the commission of the criminal activity, including the acts the

defendant perfonned and the responsibility and discretion the defendant had in perfonning those

acts; (v) the degree to which the defendant stood to benefit from the criminal activity." U.S.S.G.



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§3Bl.2, comment. n.3(C). Once again, it is submitted that it was clear enor on the part of the

Court not to consider any of these factors at Mr. Carpenter's sentencing.         Moreover, Mr.

Carpenter is the only alleged "STOLI fraudster" to be tried and sentenced after the adoption of

SGA 792 and 794.

        Therefore, just reviewing this non-exhaustive list of points in view of findings made in

the Verdict, the Government's submission to Probation, and Probation's PSR Report, the Court

can easily examine the five factors of Amendment 794 and §3B 1.2 with the findings in the

Verdict itself:

        (1) The degree to which the defendant understood the scope and structure of the
            criminal activity:
               Clearly there was no meeting of the minds here as Mr. Carpenter still submits that
               he did not lie to the cmTiers, and the earners, including Lincoln, continue to
               collect premiums and process death claims on the Charter Oak Trust policies. If
               the Court's Verdict was conect, the caniers could have rescinded the policies on
               June 7, 2016- or even now- and, keep all the premiums paid to date, and not pay
               any death claims because the policies were "fraudulently" obtained. So, clearly,
               Mr. Carpenter did not "understand the scope and the structure" of the crime here,
               and obviously the caniers do not believe they were defrauded and continue to
               ratify the individual contracts every time they accept a premium payment. "In
               other words, Lincoln was not "cheated of premiums." AEI v. Lincoln at 130.

        (2) The degree to which the defendant participated in planning or organizing the
            criminal activity:
               Mr. Carpenter created the Charter Oak Trust so that tmly wealthy people could
               pass money to future generations, income, estate, and gift tax free. The Charter
               Oak Tmst also avoided the Generation Skipping Transfer Tax. The only person
               who could buy the policy from the Charter Oak Trust was the Insured. Mr.
               Carpenter could not buy the policy, and if the Insured did not buy the policy, then
               Ridgewood and not Mr. Carpenter would end up with the policy. At no time did
               the Government explain how Mr. Carpenter could steal the policies out from
               under Ridgewood's control of the policies through the Insurance Tmstee,
               Christiana Bank.

        (3) The degree to which the defendant exercised decision-maldng authority or
            influenced the exercise of decision-making authority:
                While the Court erroneously concluded that Mr. Carpenter controlled all of the
                entities at 100 Grist Mill Road, the alleged "lying" on the applications was done
                by Agents of the Caniers from all over the Country who Mr. Carpenter not only

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              did not control, he never met these people or even had so much as a phone call
              with them. If there was an email between Mr. Carpenter and Bmce Mactas or Mr.
              Carpenter and Mark Salesman, etc. etc., the Government would have produced
              them by now. Because Mr. Carpenter had no contact with, much less dominion or
              control over these Agents of the Carriers all across the Country, he is entitled to a
              "minimal" role in the alleged conspiracy.

       (4) The nature and extent of the defendant's participation in the criminal activity,
           including the acts the defendant performed and the responsibility and discretion
           the defendant had in performing those acts:
               Similarly, just as Mr. Carpenter did not control the Agents of the Carriers, he did
               not personally fill out or answer any questions on the allegedly false applications.
               Nor did anyone file anything on Mr. Carp enter's behalf. More importantly, most
               of the applications in this case were submitted to the carrier and approved long
               before they were ever submitted to Mr. Carpenter or Wayne Bursey as Tmstee of
               the Charter Oak Tmst for funding. Also, the Chaiier Oak Trust had a bona fide
               insurable interest in each and every insured, so the Court's conclusions that these
               were STOLI policies like in Binday, is also clear error.

       (5) The degree to which the defendant stood to benefit from the criminal activity:
              This is probably the most clear-cut of the five factors, because after raiding Mr.
              Carpenter's offices not once but twice, the Govermnent has failed to produce even
              one commission check with Mr. Carpenter's name on it, unlike with the
              defendants in Binday and Quatrella. Even more significant, if the Government's
              theory of the scheme to defraud is correct, then Mr. Carpenter is the dumbest
              criminal in history, because he would know for a fact that if there were any lies
              on the insurance applications, the insurance carrier could deny coverage at any
              time - even beyond the two-year contestability period - by declaring the policies
              void due to "STOLI Fraud" which would allow the carriers to keep all of the
              premimns and not pay out any death benefits. See, e.g., Chawla v. Transamerica,
              2005 US Dist LEXIS 3473 (E.D.Va. Feb 3, 2005), which was decided in Febmary
              2005, a full two years before the first applications for the Charter Oak Trust in
              March of 2007. In the time period of 2007-2009, Mr. Carpenter's company
              would have paid over $90 million to the carriers and sustained a loss of $74
              million for his company to obtain policies that Mr. Carpenter would have known
              would be worthless because they were obtained by fraud.

       Therefore, not only has the Government failed to prove that Mr. Carpenter was the

"leader" of five-or-more "culpable" participants in a scheme to defraud (by a preponderance of

the evidence), making him eligible for an enhancement under §3Bl.l, the Government has

totally failed to address Mr. Carpenter's entitlement to a Four-Level Reduction pursuant to

having a minor role if there really were 80-100 people involved in this scheme as the

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Government alleges. See List of Government's possible co-conspirators attached as Exhibit

One. If there was a scheme to defraud the carriers here, it is submitted that Mr. Carpenter was

not part of it because his company Grist Mill Capital, LLC (GMC), as the credible evidence

revealed, was not just the biggest loser here at over $70 million in documented losses, but GMC

apparently was the only loser. Surprisingly, the Government's own voluminous numbers prove

that all of the death benefits were reinsured, so not even Lincoln lost money on paying out the

$30 million death benefit in the Sash Spencer case. Similarly, in a huge binder filled with TPG's

bank records, there was not a single check payable to Mr. Carpenter or signed by Mr. Carpenter.

Therefore, based on the Sentencing Guidelines Commission's own Primers, there was no

"Intended" or "Actual" Loss in this case, and Mr. Carpenter is entitled to a Four-Level Reduction

for having a "mitigating" role rather than a Four-Level Enhancement as the Government argues.

       As the Court is ce1tainly well aware by now, Mr. Carpenter respectfully disagrees with

virtually every conclusion made in the Court's June 6, 2016 Verdict and Findings of Fact. But,

for the purposes of the Five-Person Enhancement, it is not enough that someone knew there was

a "conspiracy" going on, they had to play an active role in that conspiracy. See, e.g., United

States v. Studley, 47 F.3d 569 (2d Cir. 1995) In the June 2016 Verdict, in addition to Mr.

Carpenter, the only people listed as possible co-conspirators are Wayne Bursey, Don Trudeau,

Charles Induddi-Westcott, Ed Waesche, and Bruce Macias. See Verdict at 86, FN62. Other than

the Govermnent's rank speculation and the Court's en-oneous conclusions, there was absolutely

no evidence adduced at trial that any of these people were in a conspiracy led by Mr. Carpenter,

and, in fact, to the contrary there is much evidence that proves Waesche, Induddi-Westcott, and

Macias lied to Mr. Carpenter and defrauded his Company, so therefore it is absurd to think they

were in a conspiracy with him.


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       Furthennore, perhaps the best evidence that Mr. Carpenter was not in a conspiracy with

Robinson, Trudeau, or Mactas, comes from the Govenunent's own Sentencing Memorandum in

this case, where the Government cites to Gov'!. Ex. 2233 which it used in its Rebuttal in the

Final Arguments at Mr. Carpenter's trial three years ago in order to suggest that he terrorized

everyone that dared disagree with him:

       "When Jack Robinson tried to send out a Spencer related document that he had worked
       on with Trudeau, Carpenter responded, "FUCK YOU BOTH THAT DON WANTS TO
       SEND ANYTHING OUT TODAY ....... I have been working so hard on so many
       projects that you two have screwed up on and you sp1ing this on me ..... Fuck you both.
       Nothing goes out without my approval and I did all these numbers already and you are
       wrong. Assholes!!!!!" Gov'! Ex. 2233." See Gov'!. Sentencing Memo at 72.

       Based on the above indisputable facts, Mr. Carpenter is entitled to a Four-Level

Mitigating Role Reduction of his Sentencing Guidelines Offense Level pursuant to SGA 794,

and Mr. Carpenter respectfully asks the Court to grant this Motion and to recalculate Mr.

Carpenter's Offense Level and reduce his sentence to Time Served.

   V. THE COURT'S CALCULATION OF LOSS IN THIS CASE IS ERRONEOUS

       The Government seems to ignore the fact that the Sentencing Guidelines were amended

in November of 2015 by Amendments 791, 792, and 794. In her seminal article for the NYU

Journal ofLaw and Business (see Issue 12.1, Fall 2015), Judge Patti Smis, the former Chair of

the Sentencing Guidelines Commission, makes a munber of points on why the Guidelines had to

change for Economic Fraud Crimes. She quotes extensively from a number of opinions from the

Second Circuit, such as Judge Rakoffs opinion in United States v. Gupta, 904 F. Supp. 2d 349

(S.D.N.Y. 2012), and Judge Underhill's opinion in United States v. Corsey, 723 F.3d 366 (2d

Cir. 2013).   In discussing the new Amendments affecting the Sentencing Guidelines for

Economic Fraud crimes, Judge Saris also frequently cmmnented on the great disparity of

sentences in the Second Circuit alone, citing such famous cases as United States v. Collins, 581

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Fed.Appx. 59 (2d Cir. 2014), where the attorney at the center of the infamous Billion dollar

REFCO fraud received only a year and a day sentence and that was after two trials, and a Billion

Dollar check-kiting scandal involving Adam Weitsman, where he also received a sentence of

only a year and a day. See United States v. Weitsman, 03-cr-00317 (N.D.N.Y. 2004).

       In a more recent multi-million dollar check-kiting scandal, Pakistani businessman Saquib

Khan was looking at a sentence of 8-9 years, but received a sentence of probation and some

cmmnunity service. See United States v. Khan, 13-cr-00268 (E.D.N.Y. 2014). And, of course,

the Court is familiar with the Raj Gupta case where he was involved with hundreds of millions of

dollars of insider trading violations but received a sentence of only 24 months. See United States

v. Gupta, 904 F. Supp. 2d 349 (S.D.N.Y. 2012) Finally, Judge Saris in her cmmnents and in the

law review article discussed a $77 million fraud against Medicare and the US Government,

where one of the officers of the fraudulent company received probation as well, despite looking

at a sentence of 14 years or more. Please see United States v. Khandrius, 613 Fed.Appx. 4 (2d

Cir. 2015), and United States v. Wahl, 563 Fed.Appx. 45 (2d Cir. 2014). There are of course

other cases that Judge Saris refers to as to why it was necessary to amend the Sentencing

Guidelines for White-Collar Economic Fraud Crimes, but suffice it to say, Judge Saris clearly

points out the problems of the great disparity in sentencing between similar individuals in similar

situations just in the Second Circuit. For example, in the case of Daniel Kornblatt, a fonner IRS

agent and tax attorney, who pied guilty to conspiring with a client to deprive the government of

taxes in a $29 million fraudulent tax-evasion scheme; despite defrauding the US Govenunent

itself, Mr. Kornblatt received a sentence of only 18 months. See United States v. Kornblatt, 14-

cr-00581 (E.D.N.Y. 2014) (sentenced to 18 months on May 22, 2017), as opposed to Mr.

Carpenter's sentence of 30 months where there was clearly no loss and no victims, intended or


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otherwise. In her NYU Journal ofLaw and Business article assessing the use of Intended Loss in

Economic Fraud Crimes, Judge Saris wrote:

       The promulgated amendment revises the initial portion of the definition to read that
       "intended loss" means the "pecuniary harm that the defendant purposely sought to
       inflict." This language reflects certain principles discussed in the Tenth Circuit's decision
       in United States v. Manatau, 647 F.3d 1048 (10th Cir. 2011). In that case, the defendant
       was convicted of bank fraud and aggravated identity theft. The district comt held that the
       intended loss should be determined by adding up the credit limits of the stolen
       convenience checks, because a loss up to those credit limits was, in the government's
       words, "'both possible and potentially contemplated by the defendant's scheme."' The
       Tenth Circuit reversed, holding that "intended loss" contemplates "a loss the defendant
       purposely sought to inflict," and that the appropriate standard was one of "subjective
       intent to cause the loss." Such an intent, the comt held, may be based on making
       "reasonable inferences about the defendant's mental state from the available facts." "The
       amendment reflects the Commission's continued belief that intended loss is an important
       factor in economic crime offenses, but also recognizes that sentencing enhancements
       predicated on intended loss, rather than losses that have actually accrued, should
       focus more specifically on the defendant's culpability." NYU Journal of Law and
       Business, Issue 12.1, Fall 2015, at 27 (emphasis added).

       Amendment 792, which became effective on November 1, 2015, essentially settled a

dispute among the Circuits, by adopting the Manatau Standard above and the existing law in the

Second Circuit of a subjective measure of intended loss. U.S.S.G. Supp. App. C, Amend. No.

792, at 110-14 (2015). Under the revised commentary to U.S.S.G. §2Bl.l, Application Note

3(A)(ii), adopts the Manatau Standard and is in line with United States v. Con/redo, 528 F.3d

143 (2d Cir. 2008), intended loss under §2Bl.l means only the pecuniary hann that the

defendant himselfpurposefully sought to inflict.

       Therefore, as Judge Saris explained in her commentary on the new Sentencing Guidelines

Amendments, the newly adopted "Manatau Standard" in the amended Sentencing Guidelines is

very important to Mr. Carpenter's case for several reasons. First, a defendant's Sentencing

Guidelines should only be based on the amount of loss that the defendant himself actually

intended to inflict on the victim(s). As is clear from the evidence of the case, the only "scheme"


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here was to pay the carriers over $90 million in life insurance premiums, so it is difficult to

imagine how there could be any "intentional" infliction of loss on the carriers in this case, or

even an "actual loss" to real victims for that matter. Second, and perhaps even more important to

Mr. Carpenter's sentencing in this case, is that with the new Sentencing Guidelines adopting the

new Manatau Standard, the Commission also adopted the "mens rea" standard of Morissette in

Manatau, that holds for the defendant's conduct to be criminal, the defendant must have actually

known that he was breaking the law and that he was intentionally causing "criminal" harm to

the victim. As was stated by Justice Gorsuch in Manatau:

       But it is equally hue that American criminal law often restricts liability to cases where an
       intentional choice to do a wrong is present. As Justice Jackson explained, "[t]he
       contention that an injury can amount to a crime only when inflicted by intention is no
       provincial or transient notion. It is as universal and persistent in mature systems of law as
       belief in freedom of the human will and a consequent ability and duty of the normal
       individual to choose between good and evil. ... Morissette v. United States, 342 U.S. 246,
       250 (1952). The simple fact is intent and knowledge are different things, different as a
       matter of their plain meaning, different in their treatment in modem American criminal
       law. And the sentencing commission chose here to invoke the former term, not the
       latter. ... The guidelines' definition of "intended loss" makes no mention of knowledge or
       some lesser mens rea standard." Manatau at 1051 (emphasis in original).

       In fact, under the new Sentencing Guidelines, the definition of "intended loss" makes no

mention of "knowledge" or some lesser "mens rea" standard and includes only the harm the

defendant actually "intended" himself to inflict on the victims. To illustrate this point, Justice

Gorsuch gives the example of a "fann boy" who clears the land for an illegal still to earn a day's

wages, as opposed to someone involved in the actual operation of the illegal still that clears the

land as well. The "Fann Boy" who is working for his wages by clearing the land to help in the

running of the illegal still is not involved in the conspiracy of running the illegal still, and is

merely getting paid to clear the land, a non-criminal activity. The Farm Boy should not be held

criminally liable for the ruru1ing of the illegal still simply because he cleared the land. In this


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case, there was no STOLI "still" and Mr. Carpenter did not recruit any insureds, and did not fill

out, sign, or send in any of the alleged fraudulent applications.

       These are the points that the Government altogether misses and ignores in its specious

analysis of loss in this case. Contrary to the Govermnent's allegations, there was absolutely no

proof adduced at trial that Mr. Carpenter "intended" for the carriers to lose any money, much less

suffer any "tangible economic hann" - words that are nowhere mentioned in the Indictment or

Trial Transcript, but are required by the Second Circuit to make a case of Mail and Wire Fraud.

Moreover, it is clear from the volumes of evidence the Govermnent continues to produce in this

case that Mr. Carpenter personally received no commissions directly from the carriers. For

instance, in a binder containing thousands of checks of millions of dollars in payments from TPG

Group to brokers, there is not a single check payable to Mr. Carpenter or written by Mr.

Carpenter. The amended Sentencing Guidelines demonstrate the clear error in the Government's

thinking. Even if there was a loss to the carriers in this case, which there wasn't, the loss should

not and could not be held against Mr. Carpenter for the purposes of establishing his Sentencing

Guidelines. As the Second Circuit's decision in Algahaim makes clear, there is something wrong

with a sentence based on 7 levels for the fraud and another 20 levels for the amount of loss. See

United States v. Algahaim, 842 F.3d 796, 800 (2d Cir. 2016).

       In this case, it is submitted that the evidence presents beyond dispute that Mr. Carpenter

intended no actual "loss" or "concrete hann" to any carrier as the law of the Second Circuit

requires. See, e.g., United States v. Rossomando, 144 F.3d 197, 201 (2d Cir. 1998), citing

United States v. Starr, 816 F.2d 94, 98 (2d Cir. 1987) (" ... absent the intent to harm, there is no

crime."). The Second Circuit went on to state in Rossomando that:

       Dinome is an example of a case in which the concrete hmm contemplated by the
       defendant is to deny the victim the right to control its assets by depriving it of

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         infonnation necessary to make discretionary economic decisions. See, also, United States
         v. Rodolitz, 786 F.2d 77, 80-81 (2d Cir. 1986) (where defendant set up elaborate scheme
         to conceal fraudulent nature of insurance claims, "the government needed to prove only
         that [defendant] employed a deceptive scheme intended to prevent the insurer from
         detennining for itself a fair value of recovery"). The government relies on cases such
         as Dinome and Rodolitz to argue that by withholding infonnation from the Pension
         Fund, Rossomando satisfied the intent-to-hann element of mail fraud even if he did not
         believe he was causing the Pension Fund to lose money, and that this is all the challenged
         portion of the charge conveyed to the jury. The government's reliance on these cases is
         misplaced. Rossomando at 201, FN5. (Emphasis added).

         Therefore, no "intended loss" or "tangible economic harm" can be said to have resulted

from the scheme of which Mr. Carpenter stands accused of based on the new standard adopted

by Amendment 792. It is also difficult to imagine how a scheme to pay almost $100 million in

premiums to the vmious carriers on 87 life insurance policies can be said to have "intended" to

cause them any actual hat1n, much less the "concrete harm" required under Rossomando and

Starr, or the new standard of "tangible economic harm" as required by United States v. Finazzo,

850 F.3d 94 (2d Cir. 2017) citing the Second Circuit's decision in United States v. Mittelstaedt,

31 F.3d 1208 (2d Cir. 1994).

   VI.     IT WAS CLEAR ERROR FOR THE COURT NOT TO APPLY THE STUDLEY
           FACTORS

         It is submitted that Mr. Carpenter's sentence in this case is also substantively and

procedurally unreasonable because the Court failed to allocate the alleged losses among the

alleged co-conspirators, utilizing the two-pronged analysis required by the Second Circuit's

decision in United States v. Studley, 47 F.3d 569 (2d Cir. 1995), where a court must establish that

a defendant "is accountable for the conduct ... of others that was both: (i) in furtherance of the

jointly undertaken criminal activity; and (ii) reasonably foreseeable in connection with that

criminal activity." As the Court realizes, Mr. Carpenter has consistently argued that there was no

conspiracy here, and if there was one, he was not a party to it. But, assuming arguendo that



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there was a conspiracy here, it was clear error for the Court not to allocate the fictitious loss in

this case among the 80 alleged co-conspirators. See Exhibit One, Government List of Co­

Conspirators.

       It is black letter law in the Second Circuit that "[t]he scope of conduct for which a

defendant can be held accountable under the Sentencing Guidelines is significantly narrower

than the conduct embraced by the law of conspiracy. The focus is on the specific acts and

omissions for which the defendant is to be held accountable in determining the applicable

guideline range, rather than on whether the defendant is criminally liable for an offense as

a conspirator". See United States v. Rigo, 649 Fed.Appx.107, 108 (2d Cir. 2016) quoting United

States v. Perrone, 936 F.2d 1403, 1416 (2d Cir. 1991), and U.S.S.G. §lBl.3 (emphasis added).

       In this case, it is submitted that the Court erroneously calculated an Offense Level of 39,

but the law is clear that the Court should analyze what portion of the total loss is applicable to

each of the alleged conspirators using the two prongs of Studley. See, also, United States v.

Getto, 729 F.3d 221,234 (2d Cir.2013) (The Guidelines also require the District Comito make a

particularized finding of the scope of tlie criminal activity agreed upon by the defendant in order

to allocate the loss applicable to each defendant) quoting Studley at 574.

       Assuming, arguendo, that there was in fact any loss to the carriers in this case, which

clearly there was not; none of that loss can be attributable to Mr. Carpenter. Two good examples

for the Court to consider are the "gifting tables" case of United States v. Platt, 608 Fed.Appx. 22

(2d Cir. 2015), where the sentences were vacated because the district court relied on a

spreadsheet of losses provided by the Government (just like the clearly erroneous spreadsheet

provided by the Govermnent in this case) without any paiiicularized finding for each defendant

or any of the alleged co-conspirators, and Getto, where the Government tried to hold Getto


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responsible for "boiler room" type sales that he had nothing to do with. In both cases, the

sentences were vacated because the district court did not use the Studley prongs to make

particularized findings as to the loss app01iioned to each co-conspirator based on his role in the

conspiracy. As the Second Circuit noted in both Platt and Getto: "The scope of conduct for

which a defendant can be held accountable under the Sentencing Guidelines is significantly

nan-ower than the conduct embraced by the law of conspiracy". See Platt at 22, quoting Getto at

234. Most importantly, just like the "gifting-table ladies" in Platt:

       For the purposes of sentencing, mere "knowledge of another participant's criminal acts or
       of the scope of the overall operation" does not make a defendant criminally responsible
       and it is less likely that an activity was jointly undertaken if the participants worked
       independently and did not "pool their profits and resources." Platt at 31, citing Studley at
       575.

       Clearly, the Government did not allege or prove any "pooling of profits and resources" in

this case, so it was clear en-or for the Court not to even mention the Studley factors in a case with

over 80 co-conspirators and an alleged $100 million in losses caused by the alleged conspiracy in

this case. The defendants' sentences in Platt were all vacated despite the fact, unlike Mr.

Carpenter in this case, they supervised, trained, and otherwise interacted with the gifting table

participants because the Second Circuit held that it was insufficient to detennine the amount of

loss attributable to each of the participants, based on their own conduct for the purposes of

calculating the loss amount for the sentencing of each defendant. The reason that is extremely

important in this case is because there was no evidence adduced at trial that any conduct of Mr.

Carpenter's contributed to the absolute "concrete "loss of any of the carriers. See Rossomondo.

So, again, even assuming arguendo that there were any losses in this case, none would be

attributable to Mr. Carpenter based on Rigo, Platt, Getto, and Studley.




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       In fact, because there was no evidence adduced at trial that any money came to Mr.

Carpenter personally from any carrier, unlike in Binday, where Binday's Agency collected all of

the commissions, there is no loss from any alleged victim in this case that is directly attributable

to Mr. Carpenter's conduct.      Because of the new Sentencing Guidelines, it is respectfully

submitted that this Court has a duty to show the amount of loss that Mr. Carpenter personally

actually "criminally" intended to cause under Manatau and the new Sentencing Guidelines; it is

submitted that amount is clearly ZERO. Mr. Carpenter received no money from any of the

"victims" and he certainly did not intend to hann anyone, including the carriers. Mr. Carpenter

was not involved with the application process of any applications in this case, was not aware that

any ofthe Insureds and their Agents were allegedly lying on the applications, and even according

to Mr. Waesche at trial, would have terminated [any agent] if he ever found out that such

"backroom" deals were going on, so Mr. Carpenter is even more removed from the alleged

conspiracy than the defendant in Getto was, or the "gifting table" ladies were, for the purposes of

sentencing and establishing the appropriate Sentencing Guidelines Offense Level.

       Moreover, tl1e Second Circuit's recent decision in AEI v. Lincoln, 892 F.3d 126 (2d Cir.

2018) negates any possibility ofloss attributable to Mr. Carpenter because he was not involved

in the recruiting of insureds, the filling out of any application, or signing or sending in any

application. Because the Second Circuit in AEI v. Lincoln determined there was no actual loss to

the carrier, there could be no "intended tangible economic harm" on Mr. Carpenter's part under

the new Amendments, even if there was a big death benefit to pay out:

       "Nevertheless, Lincoln received all the payments it was due under the contract, and
       it is not alleged that the application was fraudulent with regard to Fischer's health.
       Although everyone involved feigned ignorance during his or her testimony-testimony
       that the district court found untrustworthy, the district court found little reason to doubt
       that they all knowingly engaged in what was a STOLI scheme. Lincoln concedes that
       despite the fraud, the policy's premiums were calculated "based on the statistics that

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       applied to this woman with respect to her age and other conditions," which Lincoln does
       not allege to be fraudulent, and it received all the "premiums that [its] actuary said should
       be applicable here." In other words, Lincoln was not "cheated of premiums." AEI at
       130 (emphasis added).

       Therefore, based on the Second Circuit's decision in AEI v. Lincoln, there were

absolutely no actual losses by the carriers, and certainly no "intended" losses caused by Mr.

Carpenter according to SGA 792 and the adoption of the Manatau standard. Certainly there was

no "tangible economic harm" to the carriers intended by Mr. Carpenter's Split-Dollar funding

agreement with the Charter Oak Trust. But, even assuming somehow there was some amount of

loss attributable to Mr. Carpenter, that has to be reduced by the agents and brokers who were

paid commissions, and it must also be reduced by the premiums paid to the carriers. The Court

failed to do that calculation as required by the Second Circuit, and must therefore correct and

reduce Mr. Carpenter's sentence to a non-custodial sentence.

   VII.    THE GOVERNMENT FAILED TO PROVE THAT ANY                                        OF    ITS
           ENHANCEMENTS WERE WARRANTED IN THIS CASE

       The Government's Offense Level of 39 was calculated based on the following: a base

level of 7; a 22-level enhancement simply based on a totally specious loss of more than $100

million to the carriers; a 2-level enhancement because the fraud scheme allegedly involved

sophisticated means (as if lying on an insurance application is sophisticated); a 2-level

enhancement because the defendant alleged!y derived more than $1 million from a financial

institution (it is indisputable that Mr. Carpenter received no money from the carriers, lost $70

million and the carriers gained more than $100 million); a 4-level enhancement because Mr.

Carpenter was the leader of at least five "culpable" participants in the fraud, despite the fact that

the names seem to shift between the PSR and the Verdict; and a 2-level obstruction of justice

enhancement because the Goverrunent claims that Mr. Carpenter allegedly testified falsely about



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an email sent by Jack Robinson and that he knew nothing about Don Trudeau's endeavors with

Life Fund ELITE.

       At the outset, and based on these enhancements alone, Mr. Carpenter's Sentencing

Guidelines Level of 39 is the same as that of the Boston Bomber, Dzhokhar Tsarnaev, who was

sentenced to death for killing and maiming people during the 2013 Boston Marathon. Similarly,

a defendant involved in child pornography had an Offense Level of 39, and had his sentence

vacated by the Second Circuit. See United States v. Dorvee, 616 F.3d 174 (2d Cir. 2010). With

this in mind, several points must be made in Mr. Carpenter's favor to show that he deserves a

sentence of Time Served. Even the PSR mentions the fact that Mr. Carpenter believes he is

owed at least 16 months of time that he over-served, because he did not receive Halfway House

or Home Confinement in the Boston case where he was clearly over-sentenced due to the then­

pending indictment in this Court. See PSR at 1201. The Govermnent continues to evoke the

sentences in Binday rather than the more recent, moderate Government sentence

recommendations in Lebovits (Probation in April of 2015 by former Attorney General Loretta

Lynch) and the 60-90 Day sentences in Keller-Steinfeld (July 28, 2017).

       Furthermore, of the five people listed in the PSR ( see 1215) as the "culpable" participants

that _Mr. Carpenter was the alleged leader of, Wayne Bursey is deceased and exonerated; Jack

Robinson is deceased and never indicted; and Don Trudeau was never indicted and is still a

licensed agent with Lincoln. There was no evidence adduced at trial whatsoever that Don

Trudeau was involved in any scheme to defraud Lincoln, because the two agents on the Sash

Spencer applications were Bruce Mactas and Don Trudeau, and they are both still with Lincoln

three years after Mr. Carpenter's trial, and 10 years after Mr. Spencer's untimely death. As the

Court will recall, both Waesche and Induddi-Westcott admitted that they disagreed with Mr.


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Carpenter on a regular basis and that they lied, cheated, and stole from Mr. Carpenter's company

GMC. Certainly they were not in a conspiracy with Mr. Carpenter. And, neither Waesche nor

Induddi-Westcott admitted to being in a conspiracy with Mr. Carpenter to defraud the insurance

carriers, and no evidence was adduced at trial showing them being in any conspiracy with Mr.

Carpenter on anything.

        Moreover, Government Exhibit 2233 (Gov'! Ex. 2233, "The Fuck You" email, see Gov'!

Sentencing Memorandum at 72) is particularly important to Mr. Carpenter's case because it not

only destroys the Govermnent's case for a Four-Level Enhancement for being the "Ringleader"

of five or more "culpable" pmiicipants in the alleged conspiracy, it clearly shows that Mr.

Carpenter was not in control of Robinson, Trudeau, or Macias. But, it also calls into question

whether or not there was any conspiracy at all between these alleged "partners" in the first place,

because Ex. 2233 clearly shows that Macias is demanding of Mr. Trudeau that Universitas

should be paid the proceeds on the Sash Spencer policies, and Mr. Robinson is trying to offer his

own numbers that contradicted Mr. Carpenter's calculations.

       Not only does Ex. 2233 undercut the Government's Four-Level Enhancement for being

the leader of five "culpable" participants, it substantially undermines the Government's entire

theory of the case. If it was always intended by the alleged "conspirators" that Mr. Carpenter

was to have control of the Charter Oak Trust policies, then why was Macias pressuring Trudeau

to get Universitas paid out more than a year after Sash Spencer's death? Surely, if there were a

true conspiracy here as the Government alleges, Macias would have known that the Trust was

just a clever fac;:ade to disguise the true intent of the conspirators to allow Mr. Carpenter to take

control of all the policies just as the defendants in Binday were accused.           Of course, the

defendants in Binday really did control all of the individual trusts and the policies in that case,


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and unlike Mr. Carpenter, recruited the Straw Insureds, and filled out, signed, and sent in all of

the applications from the Binday Agency. But here, in this one email exchange, Trudeau does

not say to Mactas "Forget it, Universitas is not going to get a dime," and Robinson is even worse

in that he has the umnitigated gall to challenge Mr. Carpenter's calculations rather than telling

Trudeau to "Get with the program, we are not paying anything to anyone." IfMr. Carpenter was

supposed to get all of the money, that, of course, never happened. Instead, Mr. Carpenter

expressed his frnstration in the email exchange in arguing whether Universitas was to receive

$18 million or $19 million, but ce1iainly not the $24 million Macias was demanding.

        Therefore, it is respectfully submitted to the Court that the use by the Government of this

Exhibit proves that not only was Mr. Carpenter's Offense Level not correctly calculated in that

he should not have been "enhanced" Four Levels, but it is excellent evidence that he should have

received a Four-Level Mitigating Role Reduction if there was, in fact, a conspiracy here at all

because there was no agreement as to the "object" of the conspiracy or the "essential nature of

the conspiracy" as is required by the Second Circuit. For example, in such notable cases as

United States v. Rosenblatt, 554 F.2d 36 (2d Cir. 1977), where a Rabbi thought he was in a plan

to evade taxes while his "co-conspirator" partner in crime was stealing Postal Orders from the

Post Office, the Second Circuit held that while they were both committing crimes, they were not

in a "conspiracy" together. Obviously there was no "meeting of the minds" in that conspiracy, or

in Mr. Carpenter's case. The law of conspiracy requires agreement as to the "object" of the

conspiracy. 111-is does not mean that the conspirators must be shown to have agreed on the details

of their criminal enterprise, but it does mean that the "essential nature of the plan" that the

conspirators allegedly agreed upon, must be proven by the government, which it clearly did not

do in this case:



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       "A conspiracy involves an agreement by at least two parties to achieve a particular illegal
       end." In order for a defendant to be convicted of a conspiracy, "there must be proof
       beyond a reasonable doubt that the conspirators agreed on the essential nature of the
       plan. Conspiracy to commit a particular substantive offense cannot exist without at least
       the degree of c1iminal intent necessary for the substantive offense itself." See Ingram v.
       United States, 360 U.S. 672, 678 (1959) citing Blumenthal v. United States, 332 U.S.
       539, 557 (1947). (Emphasis added).

       Significantly, at Mr. Carpenter's t1ial, neither Mr. Waesche nor Mr. Westcott admitted to

being in a conspiracy with Mr. Carpenter. Whereas Mr. Waesche had already pleaded guilty,

Mr. Westcott claimed he had done nothing wrong and was an honest man who had not lied to

anyone, and he certainly was not in a conspiracy to hurt the carriers as he was an OSJ (Officer of

Supervisory Jurisdiction) with Lincoln.     Furthennore, while the Govennnent claims (and

apparently the Court believed) that Mr. Carpenter ran everything at 100 Grist Mill Road in 2008,

Mr. Carpenter had resigned from all things Benistar in 2004 because of his legal problems in

Boston. But, even assuming arguendo that Mr. Carpenter ran everything in Simsbury during this

time period, Don Trudeau operated out of Benistar' s Stamford Office, Mr. Waesche operated out

of his home in Greenwich, and Mr. Westcott operated out of his home in Millerton, New York.

Far from being their leader, there was no evidence adduced at trial of Mr. Carpenter ever having

a meeting with Mr. Waesche and Mr. Westcott at 100 Grist Mill Road, and there was certainly

no evidence whatsoever of Waesche, Induddi-Westcott, Trudeau, or Mactas agreeing on

anything, much less the "essential nature of the conspiracy" that is required by the Second

Circuit in Rosenblatt and United States v. Falcone, l 09 F .2d 579 (2d Cir. 1940), and by the

Supreme Court in Blumenthal, and Ingram. Suffice it to say, the 4-Level Enhancement for being

the leader of five or more culpable participants is clearly in error because the Govennnent did

not prove that by any standard at all, much less by a preponderance of the evidence.

Furthennore, Exhibit 2233 entitles Mr. Carpenter to at least a Four-Level Mitigating Role


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Reduction under SGA 794, if not a new trial pursuant to Rule 33(b). Mr. Carpenter wishes to

make it clear to the Corut that for the purposes of this Motion, he is not challenging the facts of

the case, but rather the 8-Level swing against him in the calculation of this Offense Level, which

is not supported at all by the evidence adduced at trial, and is therefore clear en-or that must be

con-ected by the Court.

       The same can be said of the Sophisticated Means Enhancement. There is nothing

sophisticated about lying on an insurance application in order to take advantage of someone's

death; a practice which actually predates the founding of this Country, the Constitution, and

ce1tainly predates the adoption of the Mail and Wire Fraud statutes. The Loss-to-a-Financial

Institution is also preposterous because the Govermnent produced a large binder of thousands of

checks paying millions of dollars to the brokers in this case, and there was not a single check

payable to Mr. Carpenter by any carrier nor was he a licensed agent on any of the applications.

There was no money paid to Mr. Carpenter by any financial institution in this case, much less the

$1 million from Lincoln claimed by the Government required for the Enhancement.

       Finally, the obstrnction of justice enhancement also lacks merit, because the Government

could talk to Don Trndeau any time that it wanted, and he would say that Mr. Carpenter had

nothing to do with Life Fund ELITE. The proof of that fact is that Jack Robinson brought a $180

million lawsuit against Wells Fargo based on Don Trudeau's control of Life Fund ELITE in

late January 2016, just two weeks before Mr. Carpenter's trial began in Febrnary 2016. See

Avon Capital Holdings (Don Trudeau) v. Wells Fargo, 16-cv-00101-RNC (D. Conn.). Mr.

Carpenter's name is not mentioned even once in any of the filings in that case. Clearly, Mr.

Carpenter had no knowledge of this lawsuit or Mr. Trndeau's alleged control of Life Fund

ELITE, once again destroying any thought of a conspiracy in this case or that Mr. Carpenter lied


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about anything at any time. If the Court truly believed that Mr. Carpenter was involved with Mr.

Trudeau and Life Fund ELITE, then it is respectfully submitted, the Comi should have recused

itself from the Avon Capital case in the interests of justice, because it involved an alleged co­

conspirator of the Defendant in the instant matter. See the filings with this Court in Avon

Capital. Please note that in the $180 million lawsuit against Wells Fargo dated January 28, 2016,

Mr. Carpenter's name is never mentioned. There is no credible evidence that Mr. Carpenter was

involved with Life Fund ELITE; there is no foundation that Mr. Carpenter knew anything about

Life Fund ELITE and was certainly not involved in any conspiracy with Mr. Robinson or Mr.

Trndeau concerning Life Fund ELITE. There is absolutely no credible evidence supporting the

Govermnent's two-level enhancement for obstrnction ofjustice in this case.

       Moreover, apparently the Govermnent and the Court knew about the Life Fund ELITE

lawsuit, but no one informed Mr. Carpenter's counsel about it, so it gave the impression that he

was testifying falsely on tl1e witness stand when asked about Life Fund ELITE. Even worse,

however, is the fact that unbeknownst to Mr. Carpenter who was still being detained at Wyatt

after his trial, Mr. Robinson filed an amended complaint against HSH Nordbank and Strook

Strook and Lavan, LLP for $439 million on April 25, 2016 -now a month after Mr. Carpenter's

trial, making both of these lawsuits Brady-Giglio-Bagley-Napue evidence that should have been

provided to Mr. Carpenter and his counsel before and after his trial. Similarly, there was a

voluntary dismissal of the defendant HSH Nordbank AG from the Life Fund ELITE affair filed

with this Court on September 14, 2016, fully three months after the Court's June 6, 2016

Judgment in this case. Clearly on this basis alone, Mr. Carpenter is entitled to a new trial

pursuant to Rule 33(b), as well as having his sentence correctly calculated and reduced as

described above, because he did not lie about having no knowledge of Life Fund ELITE, and it is


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Mr. Carpenter's position that in fact he did not lie about anything at any time in the conduct of

this case.

                                        CONCLUSION

        Therefore, based on the above calculations and even a cursory glance at Sentencing

Guidelines Amendments 792 and 794, there is no intended or actual loss in this case, and all four

of the Government's sentencing enhancements fail as a matter oflaw. With that said, based on

Probation's calculation of a Base Offense Level of 7 minus a 4-Level Mitigating Role

Adjustment Reduction because Mr. Carpenter had no idea he was in any conspiracy with anyone

to defraud any life insurance canier, this Court should grant this motion and based on a new

Offense Level of 3, reduce Mr. Carpenter's sentence to a non-custodial sentence of Time Served.


                                                           Mr. Carpenter
                                                           By His Attorneys

                                                           Respectfully submitted,
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Dated: December 14, 2018


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                EXHIBIT
                  ONE
Government List of Co-Conspirators
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                                                      United States Department of Justice

                                                      United States Attorney
                                                      District of Connecticut


                                                      Connecticut Financial Center           (203) 821-3700
                                                      157 Church Street, 25th Floor      Fox (203) 773-5376
                                                      New Haven, Connecticut 06510    www.;usltce.govlusao!ct


                                                       February 25, 2016

Richard R. Brown
Brown, Paindiris & Scott
100 Pearl Street
Hartford, CT 06103

       Re:     United States v. Daniel E. Carpenter
               Criminal No. 3:13CR226(RNC)

Dear Attorney Brown:

       We provide this letter to articulate ce1iain people and entities we believe are co­
conspirators for the purpose of offering statements pursuant to Fed. R. Evid. 80l(d)(2)(E). As
discussed in Court, the Government reserves the right to supplement this notice as the trial
progresses. This is not a comprehensive list of potential co-conspirators, but only those people
we believe are listed as senders of communications on one or more exhibits, and/or those whose
statements have been testified about.

•   Bill Hutchison
•   Bruce Mactas (including tlu·ough his employees, Felicia Schefer, Ron Palikowski, and Susan
    Feldman)
•   LeeAlper
•   Charles Induddi Westcott
•   Derek Siewert
•   Donald Trudeau
•   Eddie Stone
•   GuyNeumann
•   Jack Robinson
•   Joseph Edward Waesche IV
•   Ken Landgaard
•   Kevin Slattery
•   Billy Malcolm Jr. and Sr.
•   Molly Carpenter
•   Mark Salesman
•   Stefan Cherneski
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•   Philip Kuelme
•   WaiTen and Fred Prelle
•   Wayne Bursey
•   Robert Pacini (and through employee Andrew Varner)
•   Paul Martin
•   Brad Kellam
•   Anthony Costanzo
•   Dennis Nicotra
•   LeeA!per
•   William Klein
•   Tim Shiss]er
•   Ken Grubb
•   Benjamin "Buddy" Richman
•   Mmvin Ca1Tin
•   All Benistar-related entities and their employees and agents to the extent that the employees
    and agents are acting on behalf of the co-conspirator entity
•   Caldwell Funding Corporation, Caldwell Life Strategies, Ridgewood Finance, Ridgewood
    Finance II, Plainfield Asset Management, and all related companies, along with their
    employees to the extent that they are acting on behalf of the co-conspirator entity

        We also believe that some straw insureds may be considered co-conspirators for purposes
of the rule, that is, that there is a preponderance of the evidence that they m·e members of the
conspiracy, see United States v. Geaney, 417 F.2d 1 I 16 (2d Cir. 1969). For example, Maivin
Can-in is listed above and should be considered a co-conspirator for evidentiary purposes.
However, as there are not many other straw insureds who have statements that are being
admittecl under the mle, we decline at this point to parse out who else may be a co-conspirator.
If you have questions as to a specific insured or statement, we m·e happy to adclress our position.

        In addition to the above list, the Government notes that many of the proffered statements
m·e ac\missible under Feel. R. Evid. 801(d)(2)(C) and 801(d)(2)(D), that is, statements offered
against an opposing party "made by a person whom the party authorized to make a statement on
the subject" and "made by the party's agent or employee on a matter within the scope of that
relationship and while it existed." This exception wonld apply to all statements made by
employees of one of the Benistar-related entities as well as agents of those entities.

         Finally, we reserve our right to claim any other exception that may apply, including that
the defendant adopted certain statements made to him by e-mail, see Fed. R. Evict. 801(d)(2)(B),
or that the statement was offered not to prove its truth, but for some other purpose�including to
show the effect on the recipient. If you have a concern about any of the Government's exhibits,
please let us !mow.
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       As always, we remind you that we still await your witness and exhibit lists.


                                            Very truly yolll's,

                                            DEIRDRE M. DALY
                                            UNITED STATES ATTORNEY

                                            Isl

                                            DAVIDE. NOVICK
                                            NEERAJN. PATEL
                                            ASSISTANT UNITED STATES ATTORNEY
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                                      CERTIFICATION

        I hereby certify that on this 14th day of December, 2018, a copy of the foregoing Motion
was filed electronically and served by mail on anyone unable to accept electronic filing. Notice
of this filing will be sent by e-mail to all parties by operation of the Court's electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing.




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